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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                               LITTLE ROCK DIVISION



UNITED STATES OF AMERICA


VS.                                4:06CR00182-01 JMM/JTR


BRONSHAY DONNEL WINSTON


                                              ORDER

       Pending before the Court is Defendant’s Renewed Motion to Reconsider Detention Status

(docket entry #59) in which Defendant requests that he be released from pretrial detention on the

most restrictive conditions the Court can impose, i.e.: (1) he live with his grandmother, Reola Perry,

and his grandfather, Leo Perry, in their home in Pine Bluff; (2) Mrs. Perry serve as his third-party

custodian; and (3) he be placed on electronic monitoring and home incarceration in his grandparents’

home until his trial. On October 25, 2006, the United States of America filed a Response (docket

entry #60) opposing Defendant’s request to be released on these conditions.

       On November 28, 2006, the Court conducted a hearing on Defendant’s Motion to Reconsider

Detention Status. Defendant’s attorney presented testimony from Mrs. Perry concerning her

suitability as a third-party custodian and whether her home would serve as an appropriate

environment in which to place Defendant on a 24-hour-a-day basis, under electronic monitoring.

       At the conclusion of her testimony, the Court set forth in detail its reasons for denying the

Renewed Motion to Reconsider Detention Status. Those reasons are incorporated herein by

reference.
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       IT IS THEREFORE ORDERED that Defendant’s Renewed Motion to Reconsider Detention

Status be and it is hereby DENIED

       Dated this 29th day of November, 2006.



                                           ________________________________________
                                           UNITED STATES MAGISTRATE JUDGE




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